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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------X
 ISRAEL MARCOLINO SCHAFFNER,
                           Plaintiff,
                                                                REPORT AND
         - against -                                            RECOMMENDATION
 DIAMOND RESORTS HOLDINGS, LLC,                                 19 CV 5298 (AMD)(RML)
 et al.,
                            Defendants.
 -------------------------------------------------------X
 LEVY, United States Magistrate Judge:

                  By order dated August 16, 2021, the Honorable Ann M. Donnelly, United States

 District Judge, referred plaintiff’s motion for a default judgment to me for report and

 recommendation. (See Motion for Default Judgment, dated July 19, 2021 (“Default Mot.”), Dkt.

 No. 31; Order of Referral, dated Aug. 16, 2021.) For the reasons stated below, I respectfully

 recommend that the motion be denied.

                  Plaintiff Israel Marcolino Schaffner (“plaintiff”) commenced this case in July

 2019 in New York Supreme Court, Queens County. It was removed to this court on September

 17, 2019. By Memorandum and Order dated June 24, 2020, Judge Donnelly granted summary

 judgment in favor of defendants Diamond Resorts Holdings, LLC, Diamond Resorts

 International, Inc., Diamond Resorts International Marketing, Inc., Diamond Resorts

 International Club, Inc., Diamond Resorts Management, Inc., Diamond Resorts Developer &

 Sales Holdings Company; Diamond Resorts Financial Services, Inc., Diamond Resorts U.S.

 Collection, L.L.C., Diamond Resorts U.S. Collection Members Association, Michael Flaskey

 and Kenneth Siegel (the “Diamond defendants”). (See Memorandum and Order, dated June 24,
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 2020, Dkt. No. 30.) 1 Accordingly, to the extent plaintiff seeks a default judgment against those

 defendants, it must be denied.

                In the Memorandum and Order, the court gave plaintiff leave to move for a

 default judgment “against the remaining defendant within 30 days.” (Id. at 9.) That is a

 reference to defendant Vitor Menna Barreto, who has never appeared in this action. (Id. at 1

 n.2.) However, I have scoured the docket, and I can find no proof of service of a summons and

 complaint on defendant Barreto. In his motion for default judgment, plaintiff makes no mention

 of service of process. (See Default Mot.) In the absence of an affidavit of service with respect to

 the last remaining defendant in the case, I respectfully recommend that plaintiff’s motion be

 denied and that this case be closed.

                Any objections to this Report and Recommendation must be filed electronically

 or with the Clerk of the Court within fourteen (14) days. Failure to file objections within the

 specified time waives the right to appeal the district court’s order. See 28 U.S.C. § 636(b)(1);

 FED. R. CIV. P. 72, 6(a), 6(e).

                                               Respectfully submitted,


                                                          /s/
                                               ROBERT M. LEVY
                                               United States Magistrate Judge

 Dated: Brooklyn, New York
        October 19, 2021



 1
   On June 1, 2020, Judge Donnelly granted the Diamond defendants’ motion to dismiss
 plaintiff’s federal claims and allowed the case to proceed with respect to the supplemental state
 law claims for intentional infliction of emotional distress and for violations of Section 349 of
 New York’s General Business Law. (Memorandum and Order, dated June 1, 2020.) On July 13,
 2020, Judge Donnelly denied the Diamond defendants’ motion for reconsideration and gave
 plaintiff until August 27, 2020 to amend his complaint. Plaintiff did not file or serve an amended
 complaint, and the court granted summary judgment on the remaining state law claims.
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